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UNITED STATES DISTRICT COURT

DIS'I`RICT OF CONNECTICUT
DOUGLAS l~lALLOWELL
Pl-aintiff. JURY TR]AL
V. CIVIL ACTION NO

MA[N STREET ACQU[SITION CORP.
LAW OFFICE OF HOWARD LEE SC}I]FF, P.C.

Defendants. AUGUST 12, 2011

COMPLAINT
l. Plaintiff seeks relief pursuant to the F air Debt Collection Practices Act
(“FDCPA"), 15 U.S.C. § 1692; and regulations issued thereunder; and the Connccti.cut
Unfair Trade Practices ("CUTPA"), Conn. Gen. Stat. § 42-1103.

2. The Court's jurisdiction is conferred by 15 U.S.C.1692k and 28 U.S.C. 1331 and

136?.

3. Plaintii"f is a natural person who resides in Meriden, CT.

4. P-laintiff is a consumer within the FDCPA.

5 . Defendant Ma`m Street Acquisilion purchased defaulted debt and is a debt collector
within the FDCPA and has a principal place of business located at 3715 Davinci Co\n't,
Suite 200, Norcross, GA 30092

6. Defendam The l_.aw OHice of Howard Lee Sch'Lf“r` is a law firm who regularly
collects consumer debt and is a debt collector within the FDCPA and has a principal

place Of business located at 510 TDLLAND ST, EAST HARTFORD, CT, 06128.

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7. Defendants communicated with Plaintifi` on or about April 201 1 in connection with
collection efforts with regard to plaintiffs disputed personal debt.
8. In the collection efforts, the Defendants violated the FDCPA, § 1692g by failing to
validate this dispute debt after written notice was sent to the Law Oftic'e of Howard Lee
Sc.hiH via certified mail and received and signed for on May 14, 201 l.
9. Defendants were required to stop all collection attempts until such time as they
validated this debtl

10. Defendant Ma-in Street Acquisition Corp continued to report this disputed debt but
failed to report the Plaintist written dispute and violated §1692e (8).

1 l. The Defenclant I-Ioward Lee Schiff filed suit against the Plaintiff and took another
collection action and violated §1692g.
Second Count.

12. Thc allegations of the First Count are repeated and realleged as if fully set forth
hercin.

13. Defendant has committed unfair or deceptive acts or practices within the
meaning of the Unfair Trade Practices Act, Conn. Gen. Stat. 42-110a et seq.
WHEREFORE plaintiff respectfully requests this Court to:

l. Award Plaintiff such damages as are permitted by law including $1,000 statutory
damages against each Defendant;
2. Award the Plaintiff costs of suit and a reasonable attorney's fee;
3. Award declaratory and injunctive relief, and such other and further relief as law may

provide

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